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                                                                               (SPACE BELOW FOR FILING STAMP ONLY)

 1      ROGER D. WILSON #192207
         NUTTALL & COLEMAN
 2          2445 CAPITOL STREET, SUITE 150
              FRESNO, CALIFORNIA 93721
 3                PHONE (559) 233-2900
                    FAX (559) 485-3852
                wilson@nuttallcoleman.com
 4
     ATTORNEYS FOR DEFENDANT
 5
               SALVADOR GUTIERREZ MACHUCA
 6

 7

 8                                  UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10                                                ******

11   UNITED STATE OF AMERICA,                             Case No.: 1:09CR0339 OWW

12                         Plaintiff,
                                                              AMENDED STIPULATION RE:
13                 v.                                        CONTINUANCE OF SENTENCING

14   SALVADOR GUTIERREZ MACHUCA,                                                and
15                         Defendant.                                        ORDER
16

17             IT IS HEREBY STIPULATED by and between the parties herein that the Sentencing
18   currently scheduled for January 24, 2011, at 1:30 p.m. be continued to February 7, 2011, at
19   1:30 p.m. before the Honorable OLIVER W. WANGER.
20             This request is based upon the fact that counsel needs additional time for preparation of
21   further pleadings which shall be filed with the Court during the week of January 31, 2011.
22             Counsel’s staff has been in touch with Ms. Karen Escobar of the United States
23   Attorney’s Office, who has no objection to such a continuance.
24             It is your Declarant’s opinion that a continuance such as requested shall not prejudice
25   any party concerned with this matter.
26   \\\\
27   \\\\
28   \\\\

                                                      1       STIP. RE: CONTINUANCE OF SENTENCING & ORDER
                       Case 1:09-cr-00339-LJO Document 101 Filed 01/19/11 Page 2 of 2
 1                         DATED: January 14, 2011.     Respectfully submitted.

 2                                                               NUTTALL & COLEMAN

 3                                                         BY:    /s/ Roger D. Wilson
                                                                 ROGER D. WILSON
 4                                                               Attorneys for Defendant
 5                                                               SALVADOR GUTIERREZ MACHUCA

 6
                              DATED: January 14, 2011.
 7
                                                           BY:    /s/ Karen Escobar
 8                                                               KAREN ESCOBAR
                                                                 Assistant United States Attorney
 9

10                                                         ***************
11                                                           ORDER
12

13                            Good cause appearing,
14                            IT IS ORDERED that the Sentencing currently scheduled for January 24, 2011, at 1:30
15   p.m. is continued to February 7, 2011, at 1:30 p.m.
16

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19   IT IS SO ORDERED.

20                         Dated:   January 18, 2011                         /s/ Oliver W. Wanger
21   DEAC_Signature-END:
                                                                      UNITED STATES DISTRICT JUDGE

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                                                                  2       STIP. RE: CONTINUANCE OF SENTENCING & ORDER
